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 7                        UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9   JOSEPH CAMPOS,                                ) 08-cv-0001 GSA
                                                   )
10                                                 )
                                                   )
11                                                 ) AMENDED SCHEDULING
                            Plaintiff,             ) CONFERENCE ORDER
12                                                 )
            v.                                     )
13                                                 )
     CITY OF MERCED et al.,                        )
14                                                 )
                                                   )
15                                                 )
                                                   )
16                          Defendants.            )
                                                   )
17
18          On December 2, 2008, just prior to the scheduled pretrial conference, the parties filed a
19   stipulation to move all of the previously scheduled dates in this case. The trial is scheduled for
20   January 26, 2009. The stipulation however did not establish good cause to justify the
21   continuance. On December 5, 2008 the court held a status conference to assess the status of the
22   case. Juan Falcon appeared personally on behalf of the Plaintiff and Dale Allen appeared
23   telephonically on behalf of the Defendants.
24          After conferring with the parties, the court has determined that good cause exists for the
25   continuance. The parties are advised that in addition to the dates set at the status
26   conference, the court is requiring that any Motions in Limine be filed in conjunction with
27   the Pretrial Statement as there is only a week between the pretrial conference and the trial.
28   Any oppositions to the Motions in Limine are due no later that August 7, 2009. All

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 1   Motions in Limine will be heard at the pretrial conference. All of the new deadlines are
 2   outlined as follows :
 3
                                  Initial Disclosures : January 9, 2009
 4                               Expert Disclosures: February 27, 2009
 5                              Non-Expert Discovery : March 13, 2009
                                   Expert Discovery: March 31, 2009
 6
                Non-Dispositive and Dispositive Motions Filing Deadline : April 30, 2009
 7               Settlement Conference before Judge Beck : June 18, 2009 at 10:00 am
 8                                 Pretrial Statements : July 24, 2009
                                   Motions in Limine : July 24, 2009
 9
                       Any Opposition to the Motions in Limine : August 7, 2009
10                        Pretrial Conference : August 17, 2009 at 10:00 am
11                                 Trial : August 24, 2009 at 9:00 am
12
           All hearings and the trial will be held in Courtroom 10 except for the settlement
13
14 conference which will be held in Courtroom 9 before the Honorable Dennis L. Beck. The parties
15 shall be notify the court immediately if they are not able to comply with these amended dates.
16 Any requests for future continuances will need to establish good cause in order for the court to
17 make additional amendments to this schedule.
18
19
           IT IS SO ORDERED.
20
       Dated:
21 6i0kij          December 11, 2008                         /s/ Gary S. Austin
                                                     UNITED STATES MAGISTRATE JUDGE
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